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                  IN THE DISTRICT COURT OF THE UNITED STATES
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

DE’ANGELO MANUEL, #266919,                  )
                                            )
           Plaintiff,                       )
                                            )
  v.                                        )   CASE NO. 2:19-cv-105-MHT
                                            )
KAY IVEY, et al.,                           )
                                            )
           Defendants.                      )

                                 ORDER ON MOTION

        Upon consideration of the motion to supplement filed by Plaintiff on September 2,

2021 (Doc. 99), in which he seeks to supplement his response to Defendants’ special

reports, it is

        ORDERED that this motion is GRANTED.

        DONE this 3rd day of September, 2021.




                                  JERUSHA T. ADAMS
                                  UNITED STATES MAGISTRATE JUDGE
